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                       EXHIBIT H
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                                                              530
 Substitute for form 1449/PTO                               Complete if Known
 (Revised 07 /2 00 5)
                                                            Application Number                13/030,597
                                                            Filin~ Date                       February 18, 2011
 INFORMATION
                                                            First Named Inventor              Erik Stephen Ross
 DISCLOSURE                                                 Group Art Unit                    2197
 STATEMENT BY APPLICANT                                                                       Hang Pan
          (Use as many sheets as necessary)                 Examiner Name
 Sheet        I         1     I      of       I   2         Attorney Docket Number            4375US1.014033.l 116



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                                  Document Number
  Examiner        Cite                                        Publication Date         Name of Patentee or           Pages, Columns, Lines, Where
  Initials*       No.       Number - Kind Code (if known)     MM-DD-YYYY            Applicant of Cited Document   Relevant Passages of Relevant Figures
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 Examiner                                                                                     Date
 Signature                                                                                    Considered
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 *Examiner: Initial if reference considered, whether or not citation is in conformance with MPEP
 609. Draw line through citation if not in conformance and not considered. Include copy of this
 form with next communication to applicant.
Case 2:24-cv-00800-JRG-RSP                                         Document 54-9                    Filed 02/05/25               Page 3 of 3 PageID #:
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 Substitute for form 1449/PTO                                         Complete if Known
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                                                                      First Named Inventor                     Erik Stephen Ross
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             (Use as many sheets as necessary)                        Examiner Name
 Sheet         I          2          I         of        I    2       Attorney Docket Number                   4375US1.014033.l 116



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 Initials*         No.              Country Code - Number Kind Code              MM-DD-YYYY            Applicant of Cited               Passages or Relevant      Translation
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